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 1    DANIEL G. SWANSON, SBN 116556                  MARK A. PERRY, SBN 212532
        dswanson@gibsondunn.com                         mark.perry@weil.com
 2    GIBSON, DUNN & CRUTCHER LLP                    JOSHUA M. WESNESKI (D.C. Bar No.
      333 South Grand Avenue                         1500231; pro hac vice)
 3    Los Angeles, CA 90071                             joshua.wesneski@weil.com
      Telephone: 213.229.7000                        WEIL, GOTSHAL & MANGES LLP
 4    Facsimile: 213.229.7520                        2001 M Street NW, Suite 600
                                                     Washington, DC 20036
 5    CYNTHIA E. RICHMAN (D.C. Bar No.               Telephone: 202.682.7000
      492089; pro hac vice)                          Facsimile: 202.857.0940
 6      crichman@gibsondunn.com
      GIBSON, DUNN & CRUTCHER LLP                    MORGAN D. MACBRIDE, SBN 301248
 7    1050 Connecticut Avenue, N.W.                     morgan.macbride@weil.com
      Washington, DC 20036                           WEIL, GOTSHAL & MANGES LLP
 8    Telephone: 202.955.8500                        Redwood Shores Pkwy, 4th Floor
      Facsimile: 202.467.0539                        Redwood Shores, CA 94065
 9                                                   Telephone: 650.802.3044
      JULIAN W. KLEINBRODT, SBN 302085               Facsimile: 650.802.3100
10        jkleinbrodt@gibsondunn.com
      GIBSON, DUNN & CRUTCHER LLP
11    One Embarcadero Center, Suite 2600
      San Francisco, CA 94111
12    Telephone: 415.393.8200
      Facsimile: 415.393.8306
13

14

15

16    Attorneys for Defendant APPLE INC.

17                                 UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19                                        OAKLAND DIVISION
20    EPIC GAMES, INC.                               Case No. 4:20-cv-05640-YGR
21         Plaintiff, Counter-defendant              APPLE INC.’S ADMINISTRATIVE
22    v.                                             MOTION TO SEAL

23    APPLE INC.,                                    The Honorable Yvonne Gonzalez Rogers

24         Defendant, Counterclaimant
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 1          Pursuant to Federal Rule of Civil Procedure 26(c) and Local Rule 79-5, Apple Inc. (“Apple”)

 2   respectfully moves the Court to seal portions of the December 9, 2024 Joint Case Management

 3   Statement, submitted pursuant to the Standing Order for all Judges of the Northern District of California,

 4   Civil Local Rule 16-9, the Court’s Standing Order in Civil Cases, and the Court’s Minute Entry of

 5   November 4, 2024 (Dkt. 1048). The Joint Case Management Statement contains information sealable

 6   under controlling law and Local Rule 79-5. Specifically, this document contains competitively sensitive,

 7   non-public information regarding Apple’s business codenames regarding ongoing confidential projects.

 8   Apple’s proposed redactions of that information are highlighted in YELLOW in the un-redacted version

 9   of the Joint Case Management Statement that Apple is filing under seal and is itemized in the

10   concurrently filed Declaration of Mark A. Perry (the “Perry Declaration”).

11                                            LEGAL STANDARD

12          “The court may, for good cause, issue an order to protect a party or person from annoyance,

13   embarrassment, oppression, or undue burden or expense,” including preventing the disclosure of

14   information. See Fed. R. Civ. P. 26(c). The Court has “broad latitude” “to prevent disclosure of materials

15   for many types of information, including, but not limited to, trade secrets or other confidential research,

16   development, or confidential information.” Phillips v. Gen. Motors Corp., 307 F.3d 1206, 1211 (9th

17   Cir. 2002) (emphasis in original); see also Kamakana v. City and Cnty. of Honolulu, 447 F.3d 1172,

18   1178 (9th Cir. 2006) (compelling circumstances exist to seal potential release of trade secrets) (citing

19   Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978)); PQ Labs, Inc. v. Qi, 2014 WL 4617216,

20   at *1 (N.D. Cal. Sept. 15, 2014) (granting multiple motions to seal where publication would lead to the

21   disclosure of trade secrets); Apple Inc. v. Rivos, Inc., 2024 WL 1204115, at *1 (N.D. Cal. Mar. 21, 2024)

22   (granting request to seal “internal product codenames” and noting that a prior request for the same had

23   also been granted).

24          Although a party must show compelling circumstances to seal information appended to

25   dispositive motions, the standard for non-dispositive motions is “good cause.” In re Anthem, Inc. Data

26   Breach Litig., 2018 WL 3067783, at *2 (N.D. Cal. Mar. 16, 2018); Rembrandt Diagnostics, LP v.

27   Innovacon, Inc., 2018 WL 1001097, at *1 (S.D. Cal. Feb. 21, 2018); see DNA Genotek Inc. v. Spectrum

28   Sols., L.L.C., 2023 WL 4335734, at *2 (S.D. Cal. May 10, 2023). In general, requests to seal information


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 1   should be narrowly tailored “to remove from public view only the material that is protected.” Ervine v.

 2   Warden, 214 F. Supp. 3d 917, 919 (E.D. Cal. 2016); Vineyard House, LLC v. Constellation Brands U.S.

 3   Ops., Inc., 619 F. Supp. 3d 970, 972 n.2 (N.D. Cal. 2021) (Gonzalez Rogers, J.) (granting a motion to

 4   seal “because the request is narrowly tailored and only includes confidential information”).

 5                                                DISCUSSION

 6          Apple seeks to seal sensitive business information regarding internal business codenames

 7   regarding ongoing confidential projects. See Perry Decl. ¶ 5. Specifically, the Parties are filing a Joint

 8   Case Management Statement and Epic’s portion includes codenames regarding projects that Apple has

 9   not made public. Magistrate Judge Thomas S. Hixson recently granted Apple’s sealing request for

10   identical information that Apple requests be sealed here. See Dkt. 1057. The information reveals

11   sensitive information about Apple’s confidential business decisions, and documents including these

12   codenames have already been marked as highly confidential in the course of discovery and have not

13   been challenged by Epic under the extant protective order. See id. ¶¶ 4–5.

14          At the outset, Apple’s administrative motion to seal is subject to the “good cause” standard

15   because it concerns non-dispositive joint statements regarding discovery. See, e.g., Kamakana, 447 F.3d

16   at 1179 (“[T]he public has less of a need for access to court records attached only to non-dispositive

17   motions because those documents are often unrelated, or only tangentially related, to the underlying

18   cause of action.”); Lee v. Great Am. Life Ins. Co., 2023 WL 8126850, at *2 (C.D. Cal. Nov. 13, 2023)

19   (“Matters concerning discovery generally are considered nondispositive of the litigation”) (quotation

20   omitted); see also In re Anthem, Inc. Data Breach Litig., 2018 WL 3067783, at *2; Rembrandt

21   Diagnostics, LP, 2018 WL 1001097, at *1; Al Otro Lado, Inc. v. Wolf, 2020 WL 5422784, at *4 (S.D.

22   Cal. Sept. 10, 2020).

23          Apple easily meets the good cause standard here. Lamartina v. VMware, Inc., 2024 WL

24   3049450, at *2 (N.D. Cal. June 17, 2024) (good cause to seal internal email communications). Apple’s

25   limited proposed redactions protect against the harmful disclosure of Apple’s internal business decision-

26   making, including non-public project codenames.         See DNA Genotek Inc., 2023 WL 4335734, at *2

27   (finding good cause where disclosure would “undercut” a party’s “position … in the marketplace”);

28   Apple Inc., 2024 WL 1204115, at *1. Indeed, courts routinely hold that the type of at issue here is


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 1   sealable because its disclosure can be competitively harmful when a company’s confidential information

 2   is revealed. See, e.g., Virun, Inc. v. Cymbiotika, LLC, 2022 WL 17401698, at *2 (C.D. Cal. Aug. 19,

 3   2022) (“Courts in this Circuit have found potential harms arising from public disclosure of trade secrets

 4   or a business’ confidential financial and pricing information to be sufficient reason to seal”); Apple Inc.,

 5   2024 WL 1204115, at *1 (granting request to seal “references to[ ] internal product codenames”). Apple

 6   operates in an intensely competitive environment, and thus has taken extensive measures to protect the

 7   confidentiality of its information. See Perry Decl. ¶ 3. Disclosure of the sealed information could harm

 8   Apple’s business interests. Id. ¶ 4.

 9          Moreover, Apple has narrowly tailored its sealing request to include only the information

10   necessary to protect Apple’s confidential business information. See Perry Decl. ¶ 6; Krommenhock v.

11   Post Foods, LLC, 2020 WL 2322993, at *3 (N.D. Cal. May 11, 2020) (granting motion to seal “limited”

12   information); see also Phillips, 307 F.3d at 1211; Williams v. Apple Inc., 2021 WL 2476916, at *2–*3

13   (N.D. Cal. June 17, 2021) (noting Apple’s narrowed sealing requests with “tailored redactions” and

14   finding “most of Apple’s sealing requests[ ] appropriate” to the extent the disclosures “would harm

15   Apple’s competitive standing”); Dkt. No. 643 at 3 (finding Apple’s proposed redactions appropriate for

16   an exhibit when redactions were “narrowly tailored” to “sensitive and confidential information, the

17   disclosure of which would result in competitive harm to Apple”). Apple has only partially redacted one

18   line of text in the Joint Case Management Statement. The remainder of the Joint Case Management

19   Statement remains unredacted. See Perry Decl. ¶ 6.

20          For the foregoing reasons, there is good cause that warrants partially sealing the Joint Case

21   Management Statement.

22                                                CONCLUSION

23          Apple respectfully requests that the Court seal the identified information.

24   Dated: December 9, 2024                                  Respectfully submitted,

25                                                            By: [s] Mark A. Perry
                                                              Mark A. Perry
26                                                            WEIL, GOTSHAL & MANGES LLP

27                                                            Attorney for Apple Inc.

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